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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I
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 JASON WOLFORD; ALISON                         Civil No. 1:23-cv-00265-LEK-WRP
 WOLFORD; ATOM KASPRZYCKI;
 HAWAII FIREARMS COALITION,                    JOINT STIPULATION TO
                                               CONVERT TEMPORARY
                     Plaintiffs,               RESTRAINING ORDER TO
                                               PRELIMINARY INJUNCTION
                                               AND TO STAY FURTHER
       v.                                      PROCEEDINGS IN THE DISTRICT
                                               COURT PENDING APPEAL

 ANNE E. LOPEZ, in her official                District Judge:
 capacity as the Attorney General of the       Hon. Leslie E. Kobayashi
 State of Hawai‘i,
                                               Magistrate Judge:
                     Defendant.                Hon. Wes Reber Porter



   JOINT STIPULATION TO CONVERT TEMPORARY RESTRAINING
   ORDER TO PRELIMINARY INJUNCTION AND TO STAY FURTHER
     PROCEEDINGS IN THE DISTRICT COURT PENDING APPEAL

       Pursuant to Local Rule 10.5, Plaintiffs Jason Wolford, Alison Wolford,

 Atom Kasprzycki, and Hawaii Firearms Coalition, and Defendant Anne E. Lopez,

 in her official capacity as the Attorney General of the State of Hawai‘i, by their

 respective counsel, hereby agree and stipulate that the District Court’s August 8,

 2023, Order Granting in Part and Denying in Part Plaintiffs’ Motion for Temporary

 Restraining Order and Preliminary Injunction, Dkt. 66, shall be converted to a

 preliminary injunction, on the same basis and for the same reasons as those given

 in the August 8 Order. See Washington v. Trump, 847 F.3d 1151, 1159 n.3 (9th

 Cir. 2017) (per curiam). After the District Court converts the temporary


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 restraining order to a preliminary injunction, the parties shall, within forty-eight

 (48) hours, file a stipulated motion to voluntarily dismiss the appeal from the

 temporary restraining order, pursuant to Federal Rule of Appellate Procedure

 42(b)(1), with each party responsible for bearing its own costs and fees in

 connection with that appeal. Defendant expressly reserves its right to appeal—and

 intends to appeal—the preliminary injunction. The parties agree that Defendant’s

 request that the temporary restraining order be stayed pending appeal shall be

 construed as a request that the preliminary injunction be stayed pending appeal.

 See Dkt. 67 (motion); see also Dkt. 79 (reply). The parties also agree that

 Plaintiffs’ opposition to Defendant’s request for a stay of the temporary restraining

 order, now construed as a request to stay the preliminary injunction, shall be

 construed as Plaintiffs’ opposition to Defendant’s request that the preliminary

 injunction be stayed pending appeal. See Dkt. 78 (opposition).

       The parties hereby agree and stipulate that all further deadlines and

 proceedings in this Court will be stayed during the pendency of Defendant’s appeal

 from the preliminary injunction.

       DATED: Washington, DC, September 6, 2023.

                                  /s/ Ben Gifford

                                    KALIKO‘ONĀLANI D. FERNANDES
                                     Solicitor General
                                    NICHOLAS M. MCLEAN
                                     First Deputy Solicitor General

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                              DANA A. RAPHAEL*
                               Special Deputy Attorneys General

                              * Pro Hac Vice

                              Attorneys for Defendant

      DATED: Honolulu, Hawai‘i, September 6, 2023.


                             /s/ Kevin O’Grady

                             KEVIN GERARD O’GRADY
                             ALAN ALEXANDER BECK

                              Attorneys for Plaintiffs


 APPROVED AND SO ORDERED:

 DATED: Honolulu, Hawai‘i, September 6, 2023




 Wolford et al. v. Lopez, 1:23-cv-00265-LEK-WRP; JOINT STIPULATION TO
 CONVERT TEMPORARY RESTRAINING ORDER TO PRELIMINARY
 INJUNCTION AND TO STAY FURTHER PROCEEDINGS IN THE DISTRICT
 COURT PENDING APPEAL


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